                      Case 1-19-40173-ess         Doc 35      Filed 10/14/19     Entered 10/14/19 14:14:53




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                                                                                October 14, 2019


                Hon. Elizabeth S. Stong
                United States Bankruptcy Court
                271 Cadman Plaza East
                Brooklyn, New York 11201
                                                        Re:     Edith Astudillo, Chapter 13 Case
                                                                Case No. 19-40173-ess
                                                                Status Report
                Dear Judge Stong:

                        We have received all but one of the documents needed to submit a complete application
                to the loan servicer for a loan modification. The Debtor is aware that she must provide us with
                this document as soon as possible.

                       However, I have learned that the Debtor’s ex-husband has submitted his own application
                for a modification. I am attempting to determine how this may impact the Debtor, or if the ex-
                husband is willing to assist the Debtor by joining in her request.

                          I respectfully request an adjournment to the next available date.

                          Thank you for your consideration.

                                                                                Very truly yours,

                                                                                /s/Norma E. Ortiz
